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Attorneys for Plaintiff |daho Republican Party

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,
Plaintiffs,
vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant.

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Case No. 1:08-CV-00165-BLW

AFFIDAVIT OF
DARREL DEIDE

Darrel Deide, being first duly sworn, deposes on oath and states:

1. lam nota party to this lawsuit. Each of the matters stated herein are known to

me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

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2. From 1996 to 2002, | served in the Idaho State Senate representing District 10.
In 2002, | was seeking my fourth term in the Senate and ran in the Republican
primary against Ron McWilliams. | lost the election to McWilliams by 434 votes.

3. [| won election in all three prior terms of office handily. Only one of these election
cycles was contested at the primary level. | had over 20 years experience as a
School Superintendant and was a popular Senator in my District.

4. | believe that the IEA saw me as a threat. In my third term, | advocated major
contract language that may have threatened the policy of tenure.

5. My challenger in this race came with no prior political history, saying things the
union wanted to hear, and gained the support of that traditionally Democrat
union. The IEA donated $1000 to McWilliams primary campaing, making it his
single largest donor.

6. It was obvious that there was cross over voting, as the teachers in my district are
historically both democrat and union. | witnessed yard signs, fund raising
activities, and other non-typical campaign activity by known democrats, people
who never supported a Republican.

7. During this primary campaign, one voter in my District who | know to be a
Democrat as a result of both conversations we've had and by his past
endorsements, posted a Republican candidate sign in his yard for my opponent.

8. Reputed and well known Democrats hosted fundraisers in their yards and
publicly raised money for Mr. McWilliams.

9. There is no question in my mind that the cross over voting was a significant

factor in my defeat in the primary.

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10.1 was possibly naive in that | saw it happening, but didn’t imagine the impact it
was having.

11.In the last few days, there were new yard signs popping up, emails being sent,
and letters circulated that no amount of late fund raising was going to counteract.

12.1 likely fed the crossover vote. At a forum primarily stocked with Democrats, |
was asked if | was in favor of certain things in opposition of particular teacher
contract law. | stood consistent in my position, unknowingly feeding those from
outside of the Republican party who would use their vote against me in my
Republican Party’s primary.

13.During my three terms in the Idaho Senate, | witnessed the damaging effect that
cross-over voting has had on the Idaho State and County Republican Parties.
Republican Candidates have been nominated and elected who do not support
the Republican Party platform and are not representative of Republican ideals

and principles.

FURTHER, AFFIANT SAYETH NOT. Une fi
CZ LL. LL pe

Darrel Deide  “

State of Jdaho- Akizo’s A!

p ) ss.
County ofa TIA )
Subscribed and sworn to before me, a Notary Public in and for the State of Idaka-

onthis (4 day of January, 2010. p

Notary Public
My commission expires: 7-27-2673

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OFFICIAL SEAL

A PATRICIAL KOMOROWSK!
Nolary Public State of Arizona
PIMA COUNTY
My Comm. Exmiras Jul. 27, 2019"

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CERTIFICATE OF SERVICE

Launch Microsoft Office Qutlook.ink | HEREBY CERTIFY that on this /3 day of January,
2010, | served a copy of the foregoing Affidavit of Darrel Diede by placing the same in
the U.S. Mail, postage prepaid, addressed to the following persons:

Gary Allen

Givens Pursley

P.O. Box 2720

Boise, Idaho 83701-2720
garyallen@givenspursley.com

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